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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF OHIO
                                 EASTERN DIVISION


 LOLIYA IDONIBOYE, D.O.,                       )   CASE NO. 2:20-CV-02166
                                               )
                       Plaintiff,              )   JUDGE JAMES L. GRAHAM
                                               )
                v.                             )   MAGISTRATE JUDGE CHELSEY M.
                                               )   VASCURA
 OHIOHEALTH CORPORATION, et al.,               )
                                               )
                       Defendants.             )
                                               )


                           STIPULATED PROTECTIVE ORDER

       Pursuant to the parties’ joint request that this Court enter this Protective Order, and their

agreement that the following limitations and restrictions should apply to documents and

information produced for inspection and copying during the course of the above-captioned

litigation (the “Action”), it is hereby ORDERED that:

       1. Scope. This Protective Order (hereinafter “Protective Order” or “Order”) shall apply to

all documents or other information produced in the course of discovery in this Action that the

producing person or entity (the “Producing Entity”) has designated as “CONFIDENTIAL”

pursuant to this Order (the “Confidential Information”).

       2. Purpose. The purpose of this Protective Order is to protect against the unnecessary

disclosure of Confidential Information.

       3. Disclosure Defined. As used herein, “disclosure” or “to disclose” means to divulge,

reveal, describe, summarize, paraphrase, quote, transmit, or otherwise communicate Confidential

Information, and the restrictions contained herein regarding disclosure of Confidential Information

also apply with equal force to any copies, excerpts, analyses, or summaries of such materials or
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the information contained therein, as well as to any pleadings, briefs, exhibits, transcripts, or other

documents which may be prepared in connection with the Action which contain or refer to the

Confidential Information.

        4. Designating Material as Confidential. Any party, or any third party subpoenaed by

one of the parties, may designate as “CONFIDENTIAL” and subject to this Protective Order any

documents, testimony, written responses, or other materials produced in this case if they contain

information that the Producing Entity reasonably asserts in good faith is protected from disclosure

by statute or common law, including, but not limited to, confidential personal information, medical

or psychiatric information, proprietary or trade secret information with respect to any of the parties

or any customer, patient, employee, or resident of OhioHealth, as well as OhioHealth’s personnel

records, training, discipline, and/or financial records, or such other sensitive commercial

information that is not publicly available. Information that is publicly available may not be

designated as “CONFIDENTIAL.” The designation of materials as “CONFIDENTIAL” pursuant

to the terms of this Protective Order does not mean that the document or other material has any

status or protection by statute or otherwise except to the extent and for the purposes of this Order.

        5. Form and Timing of Designation.

                a. Documents and Written Materials. The Producing Entity shall designate any

document or other written materials as confidential pursuant to this Order by marking each page

of the material with a stamp identifying it as “CONFIDENTIAL,” if practical to do so. The person

or entity designating the material shall place the stamp, to the extent possible, in such a manner

that it will not interfere with the legibility of the document. Materials shall be so designated prior

to, or at the time of, their production or disclosure.




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               b. Electronically Stored Information (“ESI”). If a production response includes

ESI, the Producing Entity shall make an effort to include within the electronic files themselves the

designation “CONFIDENTIAL” to the extent practicable. If that is not practicable, then the

Producing Entity shall designate in a transmittal letter or email to the party to whom the materials

are produced (the “Receiving Party”) using a reasonable identifier (e.g., the Bates range) any

portions of the ESI that should be treated as if marked “CONFIDENTIAL.”

               c. Deposition Testimony. Deposition testimony will be deemed confidential only

if designated as such when the deposition is taken or within 14 days after receipt of the deposition

transcript. Such designation must be specific as to the portions of the transcript and/or any exhibits

to be protected, except that any exhibit that has previously been marked as “CONFIDENTIAL” at

the time of production, and which still bears that mark at the time of its use in a deposition, shall

be presumed to be confidential under this Order without further designation.

       6. Limitation of Use.

               a. General Protections. All information designated “CONFIDENTIAL” and

subject to this Protective Order, including all information derived therefrom, shall be used by the

Receiving Party solely for purposes of prosecuting or defending this Action and any appellate

proceedings relating thereto. The Receiving Party shall not use or disclose the Confidential

Information for any other purpose, including but not limited to any business, commercial, or

competitive purpose. Except as set forth in this Order, the Receiving Party shall not disclose

Confidential Information to any third party. This Order shall not prevent the Producing Entity from

using or disclosing information it has designated as Confidential Information, and that belongs to

the Producing Entity, for any purpose that the Producing Entity deems appropriate.




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               b.     Persons to Whom Confidential Information May Be Disclosed. Use of

any information, documents, or portions of documents marked “CONFIDENTIAL ,” including all

information derived therefrom, shall be restricted solely to the following persons who agree to be

bound by the terms of this Protective Order, unless additional persons are stipulated by counsel or

authorized by the Court:

               1.     outside counsel of record for the parties, and the administrative staff of
                      outside counsel's firms, provided that the parties limit disclosure of
                      Confidential Information to those persons necessary to prosecute or defend
                      this action;

               2.     in-house counsel for the parties, and the administrative staff for each in-
                      house counsel, provided that the parties limit disclosure of Confidential
                      Information to those persons necessary to prosecute or defend this action;

               3.     any party to this action who is an individual;

               4.     as to any party to this action who is not an individual, every employee,
                      director, officer, or manager of that party, to the extent necessary to further
                      the interest of the parties in the Action;

               5.     independent consultants or expert witnesses (including partners, associates,
                      and employees of the firm which employs such consultant or expert)
                      retained by a party or its attorneys for purposes of this Action, to the extent
                      necessary to further the interest of the parties in this Action;

               6.     the Judges and the Court’s personnel, including, but not limited to,
                      stenographic reporters regularly employed by the Court and stenographic
                      reporters not regularly employed by the Court who are engaged by the Court
                      or the parties during the Action;

               7.     the authors and the original recipients of the documents;

               8.     any court reporter or videographer reporting a deposition;

               9.     employees of copy services, microfilming, or database services, including
                      employees of such third parties who are engaged for the purpose of copying,
                      organizing, converting, storing, or retrieving documents potentially subject
                      to this Protective Order, trial support firms, and/or translators who are
                      engaged by the parties during the Action;




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               10.     interviewees, potential witnesses, deponents, hearing or trial witnesses, and
                       any other person, where counsel for a party to this action in good faith
                       determines the individual should be provided access to such information in
                       order for counsel to more effectively prosecute or defend this action (as long
                       as the disclosure occurs in the presence of counsel, and copies, duplicates,
                       images, or the like are not removed or retained by any interviewee, potential
                       witness, deponent, or hearing or trial witness), provided, however, that in
                       all such cases the individual to whom disclosure is to be made has been
                       informed that the information contained in the disclosed document(s) is
                       confidential and protected by a Protective Order and the individual
                       understands that he/she is prohibited from disclosing any information
                       contained in the document(s) to anyone; or

               11.     any other person agreed to in writing by the parties.

Prior to being shown any documents produced by another party marked “CONFIDENTIAL,” any

person listed under paragraph 6(b)(5), 6(b)(8), or 6(b)(9) shall be advised that the Confidential

Information is being disclosed pursuant to and subject to the terms of this Protective Order.

       7. Inadvertent Production. Inadvertent production of any document or information with

the designation of “CONFIDENTIAL” shall be governed by Local Rules and the Federal Rules of

Civil Procedure. The parties agree to, and the Court orders, protection of Protected Information

against claims of waiver (including as against third parties and in other Federal and State

proceedings) in the event such information is produced during the course of the Action, whether

pursuant to an order of the Court, a parties’ discovery request, or informal production, as follows:

       a.      the production of documents or ESI (including, without limitation, metadata)
               subject to a legally recognized claim of privilege or other protection from
               production or other disclosure (collectively, “Protected Information”), including
               without limitation the attorney-client privilege and work-product doctrine, shall in
               no way constitute the voluntary disclosure of such Protected Information;

       b.      the production of Protected Information shall not result in the waiver of any
               privilege or protection associated with such Protected Information as to the
               receiving party, or any third parties, and shall not result in any waiver of protection,
               including subject matter waiver, of any kind;

       c.      if any document or ESI (including, without limitation, metadata) received by a party
               is on its face clearly subject to a legally recognizable privilege, immunity, or other

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            right not to produce such information, the Receiving Party will promptly notify the
            Producing Entity in writing that it has discovered Protected Information, identify
            the Protected Information by Bates Number range, and return or sequester such
            Protected Information until the Producing Entity confirms whether it does indeed
            assert any privilege protecting this information. Once the Producing Entity asserts
            privilege over such Protected Information (as described in Subparagraph (e)
            below), the Receiving Party will return, sequester, or destroy all copies of such
            Protected Information, along with any notes, abstracts, or compilations of the
            content thereof, within ten (10) business days of notice from the Producing Entity;

      d.    upon the request of the Producing Entity, the Receiving Party will promptly
            disclose the names of any individuals who have read or have had access to the
            Protected Information;

      e.    if the Producing Entity intends to assert a claim of privilege or other protection over
            Protected Information identified by the receiving party, the Producing Entity will,
            within ten (10) business days of receiving the Receiving Party’s written
            notification, inform the Receiving Party of such intention in writing and shall
            provide the Receiving Party with a log for such Protected Information that is
            consistent with the requirements of Local Rules and Federal Rules of Civil
            Procedure, setting forth the basis for the claim of privilege, immunity, or basis for
            non-disclosure, and in the event any portion of the Protected Information does not
            contain privileged or protected information, the Producing Entity shall also provide
            to the Receiving Party a redacted copy of the Protected Information that omits the
            information that the Producing Entity believes is subject to a claim of privilege,
            immunity, or other protection;

      f.    if, during the course of the Action, a party determines it has produced Protected
            Information, the Producing Entity may notify the Receiving Party of such
            production in writing. The Producing Entity’s written notice must identify the
            Protected Information by Bates Number range, the privilege or protection claimed,
            and the basis for the assertion of the privilege and shall provide the receiving party
            with a log for such Protected Information that is consistent with the requirements
            of the Local Rules and the Federal Rules of Civil Procedure, setting forth the basis
            for the claim of privilege, immunity, or basis for non-disclosure, and in the event
            any portion of the Protected Information does not contain privileged or protected
            information, the Producing Entity shall also provide to the receiving party a
            redacted copy of the Protected Information that omits the information that the
            Producing Entity believes is subject to a claim of privilege, immunity, or other
            protection. The Producing Entity must also demand the return of the Protected
            Information. After receiving such written notification, the Receiving Party must,
            within ten (10) business days of receiving the written notification, return, sequester,
            or destroy the specified Protected Information and any copies, along with any notes,
            abstracts, or compilations of the content thereof;




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       g.     a Receiving Party’s return, sequestration, or destruction of such Protected
              Information as provided in the Subparagraphs above will not act as a waiver of the
              Receiving Party’s right to move for the production of the returned, sequestered, or
              destroyed Protected Information on grounds that the Protected Information is not
              in fact subject to a viable claim of privilege or other protection. However, the
              Receiving Party is prohibited and estopped from arguing that the Producing
              Entity’s production of the Protected Information in this matter acts as a waiver of
              applicable privileges or protections, that the disclosure of the Protected Information
              by the Producing Entity was not inadvertent, that the Producing Entity did not take
              reasonable steps to prevent the disclosure of the Protected Information, or that the
              Producing Entity did not take reasonable steps to rectify such disclosure; and

       h.     nothing contained herein is intended to or shall limit a Producing Entity’s right to
              conduct a review of documents or ESI (including, without limitation, metadata), for
              relevance, responsiveness, and/or the segregation of privileged and/or protected
              information before such information is produced to the Receiving Party;

       i.     prior to production to another party, all copies, electronic images, duplicates,
              extracts, summaries, or descriptions (collectively “copies”) of documents marked
              “CONFIDENTIAL” under this Order, or in any individual portion of such a
              document, shall be affixed with the designation “CONFIDENTIAL” if it does not
              already appear on the copy. All such copies shall thereafter be entitled to the
              protection of this Order. The term “copies” shall not include indices, electronic
              databases, or lists of documents, provided these indices, electronic databases, or
              lists do not contain substantial portions or images of the text of confidential
              documents or otherwise disclose the substance of the Confidential Information
              contained in those documents.

       8. Filing Materials Containing Information Designated Confidential. In the event a

party seeks to file with the Court any Confidential Information subject to protection under this

Order, that party must take appropriate action to ensure that the document receives proper

protection from public disclosure, including: (a) filing a redacted document with the consent of

the party who designated the document as “CONFIDENTIAL”; (b) where appropriate (e.g., in

relation to discovery and evidentiary motions), submitting the document solely for in camera

review; or (c) when the preceding measures are inadequate, seeking permission to file the

document under seal by filing a motion for leave to file under seal in accordance with the Local

Rules and Federal Rules of Civil Procedure.



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       When a party to this Order seeks to file documents which it believes may warrant sealing,

but is not the party who may be prejudiced by the document or documents becoming part of the

public record, the filing party shall provide the potentially-prejudiced party or parties, or any

potentially-prejudiced third party or parties, with written notification of its intent to file such

documents at least (14) fourteen days before doing so. After being provided such notice, the

potentially harmed party or parties will then have (7) seven days to file with the Court a motion

for sealing in accordance with Local Rules and Federal Rules of Civil Procedure.

       9. Attorneys Allowed to Provide Advice. Nothing in this Order shall bar or otherwise

restrict any attorney for any party from rendering advice to his or her client with respect to this

Action or from doing anything necessary to prosecute or defend this Action and further the

interests of his or her client, except for the disclosure of the Confidential Information as proscribed

in this Order.

       10.   Excluding      Others    from     Access.   Whenever      information    designated    as

"CONFIDENTIAL" pursuant to this Protective Order is to be discussed at a deposition, the person

or entity that designated the information as “CONFIDENTIAL” may exclude from the room any

person, other than persons designated in Paragraph 6 of this Order, as appropriate, for that portion

of the deposition.

       11. No Voluntary Disclosure to Other Entities. The parties or anyone acting on their

behalf may not voluntarily disclose any Confidential Information to any state or federal law

enforcement or regulatory agency, or any employee thereof, except in this Action as set forth in

Paragraph 6 of this Order or as otherwise commanded by law or provided in this Order.

       Nothing in this Order shall prevent a party from providing information in its possession in

response to a valid order or subpoena from a law enforcement or regulatory agency requiring the



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production of such information, except that, prior to such production, the party producing the

information shall provide as much advance notice as possible to the person or entity that designated

the material as “CONFIDENTIAL” so that the party may seek intervention of the Court to prevent

the disclosure or otherwise preserve the confidentiality of the material, if warranted.

       Nothing in this Order shall be construed as requiring either party or its counsel to violate

any law regarding the disclosure of information.

       12. Disputes as to Designations. Each party has the right to dispute the confidential status

claimed by any other party or subpoenaed person or entity in accordance with this Protective Order.

If a party believes that any documents or materials have been inappropriately designated by another

party or subpoenaed party, that party shall confer with counsel for the person or entity that

designated the documents or materials in a good faith effort to resolve the dispute. As part of that

conferral, the designating person or entity must assess whether redaction is a viable alternative to

complete non-disclosure. If any party challenges the “CONFIDENTIAL” designation of any

document or information, the burden to properly maintain the designation shall, at all times, remain

with the person or entity that made the designation to show that said document or information

should remain protected pursuant to the Local Rules and the Federal Rules of Civil Procedure. In

the event of disagreement, the designating person or entity may file a motion with the Court. A

party who disagrees with the designation must nevertheless abide by that designation until the

matter is resolved by agreement of the parties or by order of the Court.

       13. No Waiver of Right to Object. This Order does not limit the right of any party to

object to the scope of discovery in the Action, including the right to object to any request for

information sought by way of discovery. Further, this Order does not limit the right of any party




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to object to the admissibility of any testimony or evidence where such objections are based on

grounds other than the fact that the testimony or evidence involves Confidential Information.

       14. No Determination of Admissibility. This Order does not constitute a determination

of the admissibility or evidentiary foundation for any documents marked “CONFIDENTIAL.”

       15. No Admissions. Designation by either party of information or documents as

“CONFIDENTIAL," or failure to so designate, will not constitute an admission that information

or documents are or are not confidential or trade secrets. Neither party may introduce into evidence

in any proceeding between the parties, other than a motion to determine whether the Protective

Order covers the information or documents in dispute, the fact that the other party designated or

failed to designate information or documents as “CONFIDENTIAL.”

       16. No Prior Judicial Determination. This Order is based on the representations and

agreements of the parties and is entered for the purpose of facilitating discovery in this action.

Nothing in this Order shall be construed or presented as a judicial determination that any

documents or information designated as “CONFIDENTIAL” by counsel or the parties is in fact

subject to protection under Local Rules, the Federal Rules of Civil Procedure, or otherwise until

such time as the Court may rule on a specific document or issue.

       17. Order Subject to Modification. This Order shall be subject to modification by the

Court on its own motion or on motion of a party or any other person with standing concerning the

subject matter.

       18. Parties May Consent to Disclosure. Nothing shall prevent disclosure beyond the

terms of this Order if all parties consent to such disclosure, or if the Court, after notice to all

affected parties, permits such disclosure. Specifically, if and to the extent any party wishes to

disclose any Confidential Information beyond the terms of this Order, that party shall provide all



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other parties with reasonable notice in writing of its request to disclose the materials. If the parties

cannot resolve their disagreement with respect to the disclosure of any Confidential Information,

a party may petition the Court for determination of the issues.

       19. Return of Materials upon Termination of the Action. Upon the written request of

the Producing Entity, within 30 days after the entry of a final judgment no longer subject to appeal

on the merits of this case, or the execution of any agreement between the parties to resolve

amicably and settle this case, the parties and any person authorized by this Protective Order to

receive Confidential Information shall return to the Producing Entity, or destroy, all information

and documents subject to this Protective Order, unless the specific document or information has

been offered into evidence or filed without restriction as to disclosure. The party returning or

destroying the documents or other information shall certify that it has not maintained any copies

of Confidential Information, except as permitted by this Order.




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       20. Counsel Allowed to Retain Copy of Filings. Nothing in this Protective Order shall

prevent outside counsel for a party from maintaining in its files a copy of any filings in the Action,

including   any    such   filings   that   incorporate    or   attach   information   designated    as

“CONFIDENTIAL.” Moreover, an attorney may use his or her work product in subsequent

litigation provided that such use does not disclose any information or documents designated in this

matter as “CONFIDENTIAL.”


       IT IS SO ORDERED.


                                                         /s/ Chelsey M. Vascura
                                                         CHELSEY M. VASCURA
                                                         UNITED STATES MAGISTRATE JUDGE




Agreed:



 /s/ Samuel E. Endicott                               /s/ Chanda Brown (permission to file given)
 M. J. Asensio (0030777), Trial Attorney              Chanda Brown, Esq.
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 Dr. James Perez




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